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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  –Southern Division–


 CONSTANCE COLLINS, et al.,
                                                              Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.


                         DECLARATION OF ZEYNEP J. GRAVES

        I, Zeynep J. Graves, hereby declare as follows:

        1.     I am Associate Director of Litigation for the Foundation to Support Animal

Protection (aka PETA Foundation) and represent Plaintiffs in the above-captioned proceeding.

        2.     On June 24, 2021, Plaintiffs took the deposition of Defendants, via witness Robert

Candy, under Rule 30(b)(6) of the Federal Rules of Civil Procedure. Attached as Exhibit A is a

true and correct copy of excerpts of the June 24, 2021 deposition transcript.

        3.     Attached as Exhibit B is a true and correct copy of excerpted exhibits from the

June 24, 2021 deposition of Defendants, via witness Robert Candy, under Rule 30(b)(6).

        4.     On August 11, 2021, Plaintiffs took the continued deposition of Defendants, via

witness Robert Candy, under Rule 30(b)(6) of the Federal Rules of Civil Procedure. Attached as

Exhibit C is a true and correct copy of excerpts of the August 11, 2021 deposition transcript.

        5.     Attached as Exhibit D is a true and correct copy of excerpted exhibits from the

August 11, 2021 deposition of Defendants, via witness Robert Candy, under Rule 30(b)(6).
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        6.      On July 15, 2021, Plaintiffs took the deposition of Dr. Keith Gold. Attached as

Exhibit E is a true and correct copy of excerpts of the July 15, 2021 deposition transcript.

        7.      Attached as Exhibit F is a true and correct copy of excerpted exhibits from the July

15, 2021 deposition of Dr. Keith Gold.

        8.      On July 22, 2021, Plaintiffs took the continued deposition of Dr. Keith Gold.

Attached as Exhibit G is a true and correct copy of excerpts of the July 22, 2021 deposition

transcript.

        9.      Attached as Exhibit H is a true and correct copy of excerpted exhibits from the

July 22, 2021 deposition of Dr. Keith Gold.

        10.     On June 30, 2021, Plaintiffs took the deposition of Dr. Gale Duncan. Attached as

Exhibit I is a true and correct copy of excerpts of the June 30, 2021 deposition transcript.

        11.     Attached as Exhibit J is a true and correct copy of excerpted exhibits from the June

30, 2021 deposition of Dr. Gale Duncan.

        12.     Attached as Exhibit K are true and correct copies of Tri-State Zoological Park of

Western Maryland, Inc.’s (“Tri-State’s”) United States Department of Agriculture (“USDA”)

inspection reports detailing Tri-State’s citations from 2005 to 2021. PETA has gathered these

reports throughout the years via the USDA’s website and through Freedom of Information Act

requests.

        13.     Attached as Exhibit L is a true and correct copy of the results from an October

2017 U.S. Department of Agriculture inspection of Defendants’ facility, which Plaintiff PETA

received through a Freedom of Information Act request. The document bears Bates numbers

PETA009693−PETA009694.




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       14.       Attached as Exhibit M is a true and correct copy of Defendants’ Supplemental

Answers to Plaintiff PETA’s First Set of Interrogatories, which Defendants served on Plaintiffs on

June 27, 2021.

       15.       On August 10, 2021, Plaintiffs took the deposition of Rella Moon. Attached as

Exhibit N is a true and correct copy of excerpts of the August 10, 2021 deposition transcript.

       16.       On March 16, 2018, Plaintiff PETA took the deposition of Robert Candy in the

matter of People for Ethical Treatment of Animals, Inc. v. Tri-State Zoological Park of W.

Maryland, Inc., 424 F. Supp. 3d 404 (D. Md. 2019). Attached as Exhibit O is a true and correct

copy of excerpts of the March 16, 2018 deposition transcript.

       17.       On June 1, 2021, Defendants served a production of documents on Plaintiffs.

Attached as Exhibit P is a true and correct copy of excerpts of Defendants’ produced documents.

The documents bear Bates numbers 491−98.

       18.       On August 5, 2021, Plaintiff PETA served a production of documents on

Defendants, which included photographs and videos from Plaintiffs’ July 19, 2021 site inspection

of Tri-State. Attached as Exhibit Q is a true and correct copy of excerpts of Plaintiff PETA’s

production.



       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.



Executed in Yucca Valley, California this 20th day of December, 2021.


                                                                ________________________
                                                                     Zeynep J. Graves




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